 Case 2:18-cv-11693-WJM-JSA Document 101-1 Filed 08/09/22 Page 1 of 14 PageID: 1867




      -TZ
·DEPOSITI'ON
   EXCERPTS
Case 2:18-cv-11693-WJM-JSA Document 101-1 Filed 08/09/22 Page 2 of 14 PageID: 1868



                                                                  Page 36

    1             A    Frankly, I have no memory of the actual

    2      conversation with Belfield, when it took place that

    3      week, where it took place.        So I can't really say.

    4      But my -­   I'm almost 100 percent sure that nobody else

    5      would've been in the room.

    6                  When I had conversations with Dean Belfield

    7      in general about policy matters in the department of

    8      humanities; it was almost always just him and me in

    9      his office.

   10             Q    Were you seeking legal advice from Dean

   11      Belfield?

   12             A    Absolutely not.      I was just telling him what

   13      was going on and asking him what we should do about

   14      it.

   15             Q    At any point in time from November 2016, on,

   16      when you addressed Dean Belfield·with an issue

   17      concerning Jason Jorjani, were you seeking legal

   18      advice?

   19                       MR. HAEFNER:      Is Dean Belfield some

   20      crypto lawyer that I'm unaware of?

   21                       MR. KELLY:     Listen, it's a question.

   22                       MR. HAEFNER:      You can go ahead and

   23      answer.

   24                       THE WITNESS:      No.     I mean, my father

   25      was an attorney.    If I want legal advice, I'm going to

                                 VeritextLegal Solutions
        800-227-8440                                                 973-410-4{)40
Case 2:18-cv-11693-WJM-JSA Document 101-1 Filed 08/09/22 Page 3 of 14 PageID: 1869



                                                                                Page 37

    1      ask a lawyer, not the dean.

    2      BY MR. KELLY:

    3             Q          Thank you, Professor Katz.

    4             A          My chair just went down.                Sorry.   Excuse me.

    5             Q          All right.

    6             A          I have to change chairs.

    7                                MR. ROTH:     Or you could just move the

    8      screen.

    9                                THE WITNESS:       Yeah, yeah, yeah.         Well,

   10      I don't      -~    Rich, I don't know why your chair just

   11      collapsed on me.

   12                                MR. ROTH:     You broke one.

   13                                THE WITNESS:       Okay.

   14      BY MR.      KE LL Y :

   15             Q          Professor Katz, I'm going to show you what

   16      I'd like marked as Plaintiff's Exhibit Number 13.                         It

   17      is an email trail; the head of which starts with

   18      Matthew Golden, dated December 8, 2016, to Denise

   19      Anderson.          It is marked as NJIT ESI Production Number

   20      4898 through 4903.

   21                                (Exhibit 13 was marked for

   22                                identification.)

   23             A          Okay.
                                                                                             I
   24             Q          Do you see that?
                                                                                             I
   25             A          Yeah.     You spelled
                                                                                           ~
                                          Veritext Legal Solutions
        800-227-8440                                                              973-410-4040
Case 2:18-cv-11693-WJM-JSA Document 101-1 Filed 08/09/22 Page 4 of 14 PageID: 1870




                                                                    Page 51

    1             Q    Would it not have been much simpler to

    2      simply craft a one or two-line sentence suitable to

    3      release whenever NJIT received an inquiry like Mr.

    4      Jinkins' or Mr. Schumacher's that stated, in effect,

    5      our personnel or employees 'poli tics are their own,

    6      and if they're not brought to campus, they're not our

    7      business?

    8                           MR. HAEFNER:       Objection to the form of

    9      the question.

   10                           You can go ahead and answer.

   11                           It's ambiguous, but that's the basis of

   12      the objection.

   13                           You can go ahead and answer.

   14             A    I mean, again, it's not my place to decide

   15      those kinds of things.          So the school could do

   16      whatever they want.

   17             Q    Well, surely as chairman of the department

   18      of humanities, you felt some responsibility for

   19      safeguarding the academic freedom of those within your

   20      employ, correct, Professor Katz?

   21                           MR. HAEFNER:       Objection to the form of

   22      the question.        Badgering.

   23                           You can go ahead and answer.

   24                           MR. KELLY:     Badgering?

   25             A    Yes ..

                                     Veritext Legal Solutions
        800-227-8440                                                   973-410-4040
Case 2:18-cv-11693-WJM-JSA Document 101-1 Filed 08/09/22 Page 5 of 14 PageID: 1871



                                                                        Page 52

    1             Q    And you were uneasy with Mr. Schumacher's

    2      email, correct?

    3                         MR. HAEFNER:       Was that the previous

    4      email, Exhibit 12?

    5                         MR. KELLY:      Yes.

    6                         MR. HAEFNER:       Sorry.       Thank you.

    7                         THE WITNESS:       Uneasy?       Yeah.   It

    8      created concern on my part, yes.

    9      BY MR. KELLY:

   10             Q    Was it uneasy for Jorjani's sake, or for

   11      someone else's sake?

   12                         MR. HAEFNER:       Objection to the form of

   13      the question.      Compound.

   14                         You can go ahead and answer.

   15             A    I was concerned for Jason and for the

   16      university.

   17             Q    Professor Katz, when you wrote on December

   18      8, 2016, here on Exhibit 13, someone needs to tell me

   19      what to do and say

   20             A    Uh-huh.

   21             Q    -­   did you view this really as a PR problem?

   22             A    Yes.

   23                         MR. KELLY:     Gentlemen, we've been at

   24 I    this for an hour.      I'd like a five-minute break to

   25      rest my eyes.

                                   Veritext Legal Solutions
        800-227-8440                                                        973-410-4040
Case 2:18-cv-11693-WJM-JSA Document 101-1 Filed 08/09/22 Page 6 of 14 PageID: 1872



                                                                            Page 52

    1             Q      And you were uneasy with Mr. Schumacher's

    2       email, correct?

    3                           MR~   HAEFNER:       Was that the previous

    4       email, Exhibit 12?

    5                           MR. KELLY:        Yes.

    6                           MR. HAEFNER:         Sorry.       Thank you.

    7                           THE WITNESS:         Uneasy?       Yeah.   It

    8       created concern on my part, yes.

    9       BY MR. KELLY:

  10              Q      Was it uneasy for Jorjani's sake, or for

  11        someone else's sake?

  12                            MR. HAEFNER:         Objection to the form of

  13        the question.       Compound.

  14                            You can go ahead and answer.

  15              A      I was concerned for Jason and for the

  16        university.

  17              Q      Professor Katz, when you wrote on December

  18        8, 2016, here on Exhibit 13, someone needs to tell me

  19        what to do and say

  20              A      Uh-huh.

  21              Q      -­   did you view this really as a PR problem?

  22              A      Yes.

  23                            MR. KELLY:        Gentlemen, we've been at
                                                                                           I
  24        this for an hour.         I'd like a five-minute break to                      iI

  25
        I
        L
            _r_e_s_t_ _m_y_ _e_ _
                                y_e_s_._________________________________________________   J
                                       Veritext LegaJ Solutions
        800-227-8440                                                            973-410-4040
Case 2:18-cv-11693-WJM-JSA Document 101-1 Filed 08/09/22 Page 7 of 14 PageID: 1873



                                                                      Page 92

    1      probably just sent it on upstairs, as I was doing with

    2      every other email.

    3             QProfessor Katz, when you say you sent it on

    4      upstairs, does that mean sending it also on to Holly

    5      Stern?

    6                           MR. HAEFNER:       Objection to the form of

    7      the question.

    8                           You can go ahead and answer.

    9             A     Again, at this point, I don't remember who I

   10      was sending things to or who wason the email chain.

   11      My primary       I primarily sent it to Kevin Belfield,

   12      the dean.     At this point,        I don't remember whether

   13      Matt Golden and Holly Stern and Fadi Deek were also on

   14      the email chains.        I just don't recall.

   15             Q     Professor Katz, in your mind, was this a

   16      personnel matter,or was this a legal matter?

   17                           MR. HAEFNER:       Objection to the form of

   18      the question.

   19                           You can go ahead and answer.

   20                           And can you repeat that?         Was this a

   21      what or what?

   22             Q     Sure.     Did -­ let me rephrase it.

   23                   Did the Jorjani situation that was presented

   24      to you in November of 2016 and onward                 by which I

   25      mean various people complaining about Jorj ani's

                                     Veri text Legal Solutions
        800-227-8440                                                    .973-410-4040
Case 2:18-cv-11693-WJM-JSA Document 101-1 Filed 08/09/22 Page 8 of 14 PageID: 1874




                                                                         Page 93

   ·1      extramural political speech and associations.                  Do you

    2      understand that?

    3             A    Yeah.     Yes, I do.

    4             Q    Did that situation, in your mind, present a

    5      personnel issue, or a legal issue?

    6             A    Well, I'm not a lawyer, so I don't think I

    7      would consider it as a legal issue.                  To me it seems to

    8      be more of a personnel issue.

    9             Q    I'm going to show you what should be marked

   10      as Plaintiff's Exhibit Number 30.

   11                  Let me pull it up.

   12                          (Exhibit 30 was marked for

   13                          identification.)

   14                  It's an email from Matthew Golden to

   15      yourself, amongst other people, dated April 9, 2017.

   16             A    Okay.

   17             Q    The subj ect says Media Inquiry.               It's a

   18      two-page PDF.       It's New Jersey -­ NJIT's ESI Number

   19      169 and 170.

   20                  Do you see that document, sir?

   21             A    Yes; I do.

   22             Q    Now, if you had a chance to read through it

   23      or need me to scroll down, let me know, please, all

   24      right?

   25                  Counsel, would you like me to scroll up?

                                    Veri text Legal Solutions
        800-227-8440                                                           973-410-4040
Case 2:18-cv-11693-WJM-JSA Document 101-1 Filed 08/09/22 Page 9 of 14 PageID: 1875



                                                                        Page 102

    1      OAQ.       I   ~ean   with regard to your interactions with

    2      Jorjani.

    3                             MR. HAEFNER:        That he was in compliance

    4      ethically?
    5             Q         My question is -­       let me see if I can_

    6      restate it.           I'll withdraw it and restate it.

    7                       Professor Katz, did you rely upon Christine
    8      Li to be sure that you stayed within the law in terms

    9      of your demands to have Jorjani fill out his OAQ form?
   10                             MR. HAEFNER:        Objection to the form of

   11      the question.
   12                              If you're asking him if he had

   13      conversations with Christine Li for legal advice in
   14      her capacity as a lawyer, I'm instructing the witness

   15      not to answer.           If you're asking him if he had

   16      conversations with her as an ethics liaison officer
   17      about ethical issues and interpretation of ethical

   18      issues, he can answer.

   19                             MR. KELLY:       Well, in point of fact, I

   20      think he'd have to answer both of those.                If

   21      he's -­        whether or not he's had conversations with a

   22      lawyer, that itself is not a "privileged question.

   23                             MR. HAEFNER:        Yeah, but you built into

   24      the question what the topic of the conversation was

   25      which is privileged.

                                        Veritext Legal Solutions
        800-227-8440                                                       973-410-4040
Case 2:18-cv-11693-WJM-JSA Document 101-1 Filed 08/09/22 Page 10 of 14 PageID: 1876




                                                                      Page 103

     1                        MR. KELLY:      Well, hold on.        No, that's

     2      not true.     The subject of the conversation is not

     3      privileged.

     4                        MR. HAEFNER:       I think you -­      why don't

     5      you ask it again, because I think you built in what

     6      was the advice of the lawyer.            But why don't you ask

     7      it again.     Maybe you -­

     8      BY MR. KELLY:

     9             Q    No, no.    Let me be clear.           Let me be clear.

   10       I'm not asking what the specific advice is.               My
   11       question was -­    the verb was rely.

   12                   Did you rely upon the advice of Christine Li

   13       to make sure that -­     did Professor Katz rely upon the
   14       advice of Christine Li to make sure that he was in

   15       compliance with the law in his dealings with Jason
   16       Jorjani on the OAQ issue?

   17                         MR. HAEFNER:       Do you want a yes or no

   18       answer?

   19                         MR. KELLY:      Yes.
   20                         MR. HAEFNER:       It lacks foundation.        He

   21       can give a yes/no answer.

   22                         Go ahead, Eric.

   23                         THE WITNESS:       My answer would be no.           I

   24       never even considered my own legal position in terms

   25       of Jason's OAQ.

                                   Veritext Legal Solutions
         800-227-8440                                                      973-410-4040
Case 2:18-cv-11693-WJM-JSA Document 101-1 Filed 08/09/22 Page 11 of 14 PageID: 1877



                                                                           Page 104

     1      BY MR. KELLY:

     2             Q       So, Professor Katz, is it fair to say that,

     3      in your mind, this was strictly a                     strike' that.

     4                     Professor Katz, is it fair to say that, from

     5      your perspective, this was a run-of-the-mill personnel

     6      issue?

     7                           MR. HAEFNER:        Objection to the form of

     8      the question.

     9                           You can go ahead and answer.

    10             A      Well, I wouldn't call it run-of-the-mill but

    11      it was definitely a personnel issue.

    12             Q       Professor Katz, was Jason Jorjani's OAQ

   13       compliaDce a personnel issue?

    14                           MR. HAEFNER:        Objection to the form of

   15       the question.        Asked and answered.

   16                            You can go ahead and answer.

   17              A      Yes.    I believe it was a personnel issue.

   18              Q      1'm sorry.      My -­ by the way, I apologize,

   19       Professor Katz.        I know a lot of this seems tedious.

   20              A      That's okay.

   21              Q       It's just kind of the way sometimes we work

   22       things out.       1'm not trying to badger you or draw this

   23       out.       It just -­ when Mra Haefner objects, l've got to

   24       think about the matter and then try to reformulate in

   25       case there I s a valid objection there.                 It' s kind of

                                       Veritext Legal Solutions
         800-227-8440                                                         . 973-410-4040
Case 2:18-cv-11693-WJM-JSA Document 101-1 Filed 08/09/22 Page 12 of 14 PageID: 1878




                                                                    Page 105

     1      the dance we do here.          I'm not trying to be tedious or

     2      beat a dead horse as they say.

     3             A    I understand.

     4             Q    Okay.     Did you think, Professor Katz, that

     5      Jorjani's OAQ issue was a particularly complex

     6      personnel issue?

     7                          MR. HAEFNER:        Objection to the form of

     8      the question.

     9                          You can go ahead and answer.

   10              A    No, I didn't think it was complex.           I
   11       thought that it was that he was not putting in all the

   12       information relevant to his outside activities.
   13       Pretty simple.

   14              Q    Professor Katz, do you recall drafting a

   15       reappointment letter with regard to Professor Jorjani
   16       around April of 2017?

   17              A    Yes,. I do.
   18              Q    Okay.     Did that present any kind of legal

   19       issue in your mind?

   20              A    No, it didn't.

   21              Q    It presented a routine personnel issue,

   22       correct?

   23                           MR. HAEFNER:        Objection to the form of

   24       the question.
   25                           You can go ahead and answer.

                                      Veritext Legal Solutions
         800-227-8440                                                    973-410·,4040
Case 2:18-cv-11693-WJM-JSA Document 101-1 Filed 08/09/22 Page 13 of 14 PageID: 1879



                                                                        Page 109

    1       what this email is about?
    2               A      No

    3                             MR. HAEFNER:       You can answer yes or no.
    4               A      No.
    5               Q      I'm going to have to ask -­ well

     6                           MR. HAEFNER:        Are you going to ask him
    7       to remember?         He just said he doesn't remember.
    8                             Oh, and what document-­          is this
    9       Exhibit 28, Mr. Kelly?           32?
   10                            MR. KELLY:        32.
   11                            MR. HAEFNER:        Okay.
   12                            MR. KELLY:        It's ESI       NJIT's ESI
   13       3678.       Marked confidential despite the fact that it
   14       doesn't really reveal too much.                Probably another
   15       overclassification by your office, but we'll let that
   16       slide.
   17                            MR. HAEFNER:        Thanks.
   18       BY MR. KELLY:
   19               Q      Let me ask you this, Professor Katz.
   20                      In April of 2017, were you discussing
   21       Jorj ani's OAQ compliance with Holly Stern and
   .22      Christine Li?

   23                            MR. HAEFNER:        Objection to the form of
   24       the question.         I mean, again, you built into the
   25       question the nature of

                                       Veritext Legal Solutions
         800-227-8440                                                          973-410-4040
Case 2:18-cv-11693-WJM-JSA Document 101-1 Filed 08/09/22 Page 14 of 14 PageID: 1880



                                                                        Page.ll0

     1                        MR. KELLY:       The subject matter.         I'm

     2      not building into the nature of the advice, i'f any.

     3      I'm asking the subject matter.

     4                        MR. HAEFNER:        I don't believe that's

     5      the truth, Mr. Kelly.       I believe the

     6      question -- there's a different question you could ask

     7      and it's not that question.

     8                        So, you know,       if you want to ask the

     9      witness if he had conversations with Holly Stern

   10       around this time, without discussing the topic, that

   11       would initially get you an answer to your question and

   12       we could see whether there's anywhere to go.

   13                         MR. KELLY:       No, I'll stand on that

   14       question.     Are you going to direct him not to answer?

   15                         MR. HAEFNER:        Okay.        Don.t answer the

   16       question, Mr. Katz.

   17                         MR. KELLY:       Please mark that for a

   18       ruling.     I'll have that certified.

   19                         MR. HAEFNER:        I don't even know what

   20       that means.     You know, we're in federal court in New

   21       Jersey.     There's no such thing as getting things

   22       certified.

   23                         MR. KELLY:      My experience in federal

   24       court means, when it's certified, the judge rules on

   25       it later on.     That's what I mean -­
         L -_ _ _ _ _ _ _ _ _ _~----------------------~--------~------------------~

                                    Veritext Legal Solutions
         800-227-8440                                                       973-410-4040
